                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION (DETROIT)

In re:

Candis Koch,                                             Case No.: 15-42834
                                                         Chapter 7
         Debtor.                                         Hon. Mark A. Randon

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Daniel M. McDermott,

         Plaintiff,

v.                                                       Adversary Proceeding
                                                         Case No.: 15-04644

Candis Koch,

         Defendant.
                                      /

                                          JUDGMENT

         The Court having presided over a trial of this matter on October 13, 2016 and

October 14, 2016; and having issued its Opinion and Order Granting the United States

Trustee’s Objection to Defendant’s Chapter 7 Discharge on January 13, 2017 holding

Koch is denied a discharge pursuant to sections 727(a)(2)(A) and 727(a)(4)(A) of the

bankruptcy code;

         JUDGMENT IS ENTERED in favor of the United States Trustee;

         IT IS FURTHER ORDERED that Koch’s discharge is denied in her Chapter 7

bankruptcy.

         IT IS FURTHER ORDERED that this is a final judgment and closes the


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adversary proceeding.

                                            .
Signed on January 13, 2017
                                                  /s/ Mark A. Randon
                                            Mark A. Randon
                                            United States Bankruptcy Judge




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